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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                     )
                                              )
v.                                            )
                                              )      Crim. No. 17-201-01 (ABJ)
PAUL J. MANAFORT, JR.,                        )
                                              )
                  Defendant.                  )


     DEFENDANT PAUL J. MANAFORT, JR.’S MOTION TO CORRECT FILING

       Defendant Paul J. Manafort, Jr., by and through counsel, hereby moves to correct

a filing error with respect to Docket # 159-1. Specifically, the defendant requests that the

current attachment to Docket # 159 (i.e., Dkt. # 159-1) be removed from the public

docket and that the correct attachment, the proposed order for the request set forth in

Docket # 159, be substituted. The defendant has consulted with the Government, which

has consented to this request. The proposed order for Docket # 159 is attached to the

instant motion.

Dated: January 25, 2018                              Respectfully submitted,


                                                     ______________________________
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